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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.1.1
                                Eastern Division

William Gomez
                            Plaintiff,
v.                                                Case No.: 1:16−cv−00424
                                                  Honorable Thomas M. Durkin
ZRD, LLC
                            Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, July 15, 2016:


       MINUTE entry before the Honorable Thomas M. Durkin:Status hearing held on
7/15/2016. Discovery ordered closed by 9/15/2016. Status hearing set for 9/15/2016 at
09:00 AM.Mailed notice(srn, )




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